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                     UNITED STATES DISTRICT COURT

                    WESTERN DISTRICT OF LOUISIANA

                            SHREVEPORT DIVISION

  UNITED STATES OF AMERICA                 *        CRIMINAL NO.: 5:18-cr-00030-01
                                           *
                                           *        18 U.S.C. §§ 1341, 1344, 1343, 1957
                                           *        18 U.S.C. §§ 1014, 2
  VERSUS                                   *        18 U.S.C. §§ 981(a)(1)(C), 982(a)(2)
                                           *
                                           *        CHIEF JUDGE HICKS
  DAVID D. DEBERARDINIS                    *        MAGISTRATE JUDGE HORNSBY

                 UNITED STATES’ MOTION FOR LEAVE TO FILE
               ITS RESPONSE IN OPPOSITION TO DEFENDANT’S
                     MOTION TO SUPPRESS OUT OF TIME

        NOW INTO COURT, through the United States Attorney and undersigned

  Assistant United States Attorney, comes the United States of America, who

  respectfully requests leave of Court to file its response in opposition to the defendant’s

  Motion to Suppress [Rec. Doc. 51] out of time:

                                               1.

        On February 1, 2019, the defendant filed the above-referenced motion to

  suppress. [Rec. Doc. 51]. The motion seeks suppression of all evidence seized from

  his home on grounds that it was an unconstitutional “all-records” search and,

  alternatively, that the search warrant was not supported by probable case.

                                               2.

        The defendant filed additional motions around the same time as the motion to

  suppress, including a Motion to Determine Competency. [Rec. Doc. 66]. Thereafter,

  the parties engaged in extensive motion practice, and in December of 2019, the
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  magistrate judge conducted a two-day hearing on the issue of competency. On April

  3, 2020, the magistrate judge issued a Report and Recommendation, recommending

  that Court ender a finding that the defendant is legally competent to stand trial. [Rec.

  Doc. 115]. As of the date of this filing, this Court has not yet issued a final ruling on

  the competency motion and corresponding Report and Recommendation.

                                             3.

        The magistrate judge conducted a video status conference with the parties on

  May 14, 2020, during which it allowed the United States until May 18, 2020, to file a

  response to the defendant’s motion to suppress. [Rec. Doc. 122]. The United States

  missed its filing deadline, and on July 2, 2020, the defendant filed a reply, urging the

  court to grant the motion because the United States had waived its right to respond.

  [Rec. Doc. 134].

                                             4.

        On July 2, 2020, when this failure came to the attention of the United States

  Attorney and the undersigned, the Assistant United States Attorney previously

  assigned to this prosecution was removed from this case and another Assistant

  United States Attorney was directed to prepare the United States’ response to the

  motion. That Assistant United States Attorney has done so promptly, so that this

  motion and the United States’ opposition (attached) have been filed on the first

  business day after the undersigned’s discovery of the missed deadline.
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                                              5.

         The defendant alleges no specific prejudice arising from the United States’

  failure to timely file its response, nor can he, as he is not in custody; the trial is more

  than seven months away; and the fact that the defendant has not yet been

  adjudicated competent means this Court could not proceed with an evidentiary

  hearing on the instant motion even if the issue were fully briefed.

         Instead, the defendant relies only upon the government’s technical default.

  But suppression of the evidence under such circumstances is too severe a remedy, as

  suppression will punish only the defendant’s alleged victims and the public, all of

  whom have a right to an adjudication of the charges based on all legally obtained

  evidence.

                                              6.

         Suppression of the evidence for the government’s failure to timely file an

  opposition is not compelled by the cases cited by the defendant, none of which is

  precedential. It is true the district court in United States v. Madrid, 916 F.Supp.2d

  730 (W.D. Tex. 2012) found the government had waived a standing objection by

  failing to raise it (though the court ultimately denied the motion on other grounds).

  Id. at 736.   However, Madrid is contrary to a published, precedential ruling of the

  Fifth Circuit, United States v. Iraheta, 764 F.3d 455, 460 (5th Cir. 2014), which

  recognized the district court retains the discretion to consider a suppression

  argument even though it was not first presented to the magistrate judge. Id. at 460

  (rejecting the defendant’s waiver argument and finding the district court
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  “appropriately exercised its discretion and decided the issue even though it was not

  presented to the MJ”).

           United States v. Freeman, 2010 WL 1957303 (E.D. Tenn. 2010), also cited by

  the defendant, actually supports the United States’ argument against waiver in this

  case. In Freeman, in spite of the United States’ failure to file a response to a motion

  to suppress, the magistrate judge considered the merits of the defendant’s arguments

  and issued a Report and Recommendation recommending denial of the motion. In

  his objection to the Report and Recommendation, the defendant argued that his

  motion to suppress should be granted because the government’s failure to reply

  constituted waiver. While acknowledging that the government had no good reason

  not to file an opposition, the Court nevertheless addressed the merits of the

  defendant’s motion and denied it, finding that granting the motion on the basis of

  waiver “would have significant and unwarranted consequences in this matter.” Id.

  at *3.

                                             7.

           The government regrets its failure to timely file its response to the motion

  within the prescribed time limits. However, absent demonstrable prejudice to the

  defendant, the United States respectfully suggests this Court should exercise its

  discretion to permit the United States to file out of time.

           WHEREFORE, the United States of America respectfully moves this Court to

  grant it leave to file the attached opposition to the defendant’s motion to suppress out

  of time.
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                                     Respectfully submitted,

                                     DAVID C. JOSEPH
                                     United States Attorney

                                     By: /s/ Alexander C. Van Hook
                                     ALEXANDER C. VAN HOOK
                                     First Assistant United States Attorney
                                     300 Fannin Street, Suite 3201
                                     Shreveport, LA 71101
                                     (318) 676-3600 – office
                                     (318) 676-3663 – fax
